     Case 3:22-cv-00172 Document 24 Filed on 02/20/24 in TXSD Page 1 of 1
                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                         February 20, 2024
                    UNITED STATES DISTRICT COURT
                                                                         Nathan Ochsner, Clerk
                     SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION
DONNA L. KEATON,                        §
                                        §
       Plaintiff.                       §
                                        §
V.                                      § CIVIL ACTION NO. 3:22-cv-00172
                                        §
COMMUNITY LOAN SERVICING,               §
LLC,                                    §
                                        §
       Defendant.                       §
                              FINAL JUDGMENT
      Pursuant to the Court’s Opinion and Order entered today, Plaintiff’s claims
against Defendant are dismissed with prejudice. Judgment is awarded in favor of
Defendant on its counterclaims for breach of contract and non-judicial foreclosure.
Defendant has the right to foreclose on the property at 2223 Avenue K, Galveston,
Texas 77550.
      This is a final judgment.
      The Clerk will provide copies of this judgment to the parties.
      SIGNED this 20th day of February 2024.


                                      ______________________________
                                              ANDREW M. EDISON
                                       UNITED STATES MAGISTRATE JUDGE
